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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

 CHELSEA E. ANSTEAD and     :
                            : No. 3:22-CV-2553-MCR-HTC
 KERCHAI LeFLOR, individually and
                            :
 on behalf of all others similarly
 situated,                  :
                            :
              Plaintiffs,   :
                            :
     v.                     :
                            :
 ASCENSION HEALTH; ASCENSION:
 HEALTH ALLIANCE,           :
 ASCENSIONCONNECT, LLC, and :
 SACRED HEART HEALTH        :
 SYSTEM, INC.               :
                            :
              Defendants.   :

             PLAINTIFFS’ UNOPPOSED MOTION FOR
      PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT

      Plaintiffs Chelsea E. Anstead and Kerchai LeFlor, through their undersigned

counsel, respectfully move the Court for an Order:

      1.     granting preliminary approval of the Parties’ Settlement Agreement, a

true and correct copy of which is attached as Exhibit 1 to the accompanying

Memorandum of Law, as a fair and reasonable resolution of a bona fide dispute

under the Fair Labor Standards Act, and as fair, reasonable, and adequate pursuant

to FED. R. CIV. P. 23(e);

      2.     conditionally certifying the Settlement Collective and Class as a
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collective action pursuant to 29 U.S.C. § 216(b), and as a class action pursuant to

FED. R. CIV. P. 23(a) and (b)(3), pending final approval of the Settlement Agreement,

the Settlement Collective and Class being comprised of:

              a.   All current and former non-exempt employees employed by any
                   or all of the Defendants in the United States during the time
                   period from March 2, 2019 through June 13, 2022, who worked
                   more than forty hours in any workweek and who were not paid
                   overtime at a rate of one-and-one-half times their “regular hourly
                   rate” for all hours worked over forty taking into account any non-
                   discretionary critical staffing bonuses (hereinafter, the “Regular
                   Rate Collective and Class” and each a “Regular Rate Collective
                   and Class Member”); and

              b.   All current and former non-exempt employees employed by any
                   or all of the Defendants in the United States at any time during
                   the Kronos ransomware attack between November 2021 and
                   January 2022 who received a reconciliation payment for
                   underpayments during the Kronos ransomware attack
                   (hereinafter, the “Kronos Collective and Class” and each a
                   “Kronos Collective and Class Member”);

         3.   preliminarily appointing Plaintiff Chelsea E. Anstead as the

representative of the Regular Rate Collective and Class, and Plaintiffs Chelsea E.

Anstead and Kerchai LeFlor as the representatives of the Kronos Collective and

Class;

         4.   preliminarily appointing Berger Montague PC and Varnell & Warwick

P.A. as Class Counsel for the Regular Rate Collective and Class, and Berger

Montague PC, Varnell & Warwick P.A., Morgan & Morgan, P.A., and Parmet PC

as Class Counsel for the Kronos Collective and Class;



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      5.    preliminarily appointing Rust Consulting, Inc. as the Settlement

Administrator to perform all duties and tasks assigned to the Settlement

Administrator in the Settlement Agreement, and preliminarily approving the costs

of notice and settlement administration;

      6.    approving the Notice of Settlement, including the Regular Rate Notice

of Settlement attached as Exhibit A to the Settlement Agreement, and the Kronos

Incident Notice of Settlement attached as Exhibit B to the Settlement Agreement, to

be distributed by the Settlement Administrator pursuant to the terms of the

Settlement Agreement;

      7.    scheduling the final approval hearing approximately 80-90 days after

the Preliminary Approval Order to consider the final approval of the proposed

Settlement; and

      8.    approving the following schedule and procedures for completing the

settlement approval process as set forth in the Parties’ Settlement Agreement:

 Defendants to send CAFA Notice            Within ten business days after the
                                           submission of the Settlement Agreement
                                           to the Court.
 Defendants Provide Settlement             Within seven calendar days after issuance
 Collective and Class Contact              of the Preliminary Approval Order.
 Information
 Notice Sent by Settlement                 Within ten days of receiving the
 Administrator                             Settlement Collective and Class List.
 Plaintiffs’ Motion for Approval of        Due fourteen days before the Objection
 Attorneys’ Fees and Costs                 and Opt-Out Deadline.
 Deadline to postmark objections or        Forty-five days after the Notice of
 requests for exclusion                    Settlement is initially mailed by the

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                                       Settlement Administrator.
 Plaintiffs’ Motion for Final Approval Due two weeks prior to Final Approval
                                       Hearing Date

      This Motion is based on the accompanying Memorandum of Law, the

Declarations submitted therewith, the Parties’ Settlement Agreement and attached

Exhibits, and all other records, pleadings, and papers on file in this action.

Defendants do not oppose this Motion. A proposed Preliminary Approval Order

jointly prepared by the Parties is submitted for the Court’s consideration and is also

attached as Exhibit C to the Settlement Agreement.

Dated: August 24, 2022                 Respectfully submitted,

                                       /s/ Shanon J. Carson
                                       Shanon J. Carson
                                       Camille Fundora Rodriguez
                                       Alexandra K. Piazza
                                       BERGER MONTAGUE PC
                                       1818 Market Street, Suite 3600
                                       Philadelphia, PA 19103
                                       Tel.: (215) 875-3000
                                       Fax: (215) 875-4604
                                       scarson@bm.net
                                       crodriguez@bm.net
                                       apiazza@bm.net

                                       Janet Varnell; FBN: 0071072
                                       Brian W. Warwick; FBN: 0605573
                                       VARNELL & WARWICK P.A.
                                       1101 E. Cumberland Ave., Suite
                                       201H, #105
                                       Tampa, FL 33602
                                       Tel: (352) 753-8600
                                       Fax: (352) 504-3301
                                       jvarnell@vandwlaw.com

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                             bwarwick@vandwlaw.com

                             Andrew R. Frisch
                             FL Bar # 027777
                             MORGAN & MORGAN, P.A.
                             8151 Peters Road, Suite 4000
                             Plantation, Florida 33324
                             Telephone: (954) WORKERS
                             Facsimile: (954) 327-3013
                             Email: AFrisch@forthepeople.com

                             C. Ryan Morgan, Esq.
                             FL Bar No. 0015527
                             MORGAN & MORGAN, P.A.
                             20 N. Orange Ave., 16th Floor
                             PO Box 4979
                             Orlando, FL 32802-4979
                             Telephone: (407) 420-1414
                             Facsimile: (407) 867-4791
                             Email: rmorgan@forthepeople.com

                             Matthew S. Parmet
                             TX Bar # 24069719
                             (seeking admission pro hac vice)
                             PARMET PC
                             3 Riverway, Ste. 1910
                             Houston, TX 77056
                             phone 713 999 5228
                             Email: matt@parmet.law

                             Counsel for Plaintiffs




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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2022, I caused the foregoing to be served

on all counsel of record via ECF.

                                            /s/ Shanon J. Carson
                                            Shanon J. Carson




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